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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ABG EPE IP, LLC,

       Plaintiff,

v.                                       Case No.: 1:24-cv-3977-SEG

01baiyun, et al.,

       Defendants.

                      NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff ABG EPE IP, LLC, by and through undersigned counsel and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby voluntarily dismisses this action

against the following Defendants without prejudice, with each party to bear its own

attorneys’ fees and costs:

      1. ALCO Toys Store JD;

      2. canvasboutiquework;

      3. chaoziclothes;

      4. chaoziji_0;

      5. girl_boy20238;

      6. greeneight;

      7. maydevise2023;

      8. NewWallDecor;

      9. Quanzhou Shandian Electronic Commerce Co., Ltd.;
                                         1
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     10. TSHIRTGB;

     11. UnikMart; and

     12. zihnimuzik.

Dated: November 18, 2024.


                              Respectfully submitted,
                              THE SLADKUS LAW GROUP

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